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                                                                         POSITIONS ELIMINATED
Position                                    Name              Status            Age Gender      Supervisor          Comment

Senior Services Coordinator                 Jami Bartz        Inactive          58   Female     Claire Schell       1/31/2021‐ Retired/Position Eliminated


Secretary of Traffic                        Marsha Sprankel   Inactive          66   Female     Dennis Petraca      2/28/21‐ Retired/Position Eliminated


Major of Professional Standards             Tracy Estep       Inactive          48   Female     John Holloway       6/24/21 ‐ Retired/Position Eliminated


Director of Purchasing                      Jenna Clark       Inactive          59   Female     Annmarie Reno       9/4/2021 ‐ Retired/Position Eliminated


Community Liaison                           Amy DellAquilla   Inactive               Female     Michael Truscott    10/11/2021‐ Resigned/Position Eliminated
                                                                                58
                                                                                                                    11/4/2021 ‐ Title Change to Fleet Services
Director of Fleet Management                James Jones       Active            51   Male       Jeremiah Marcotte
                                                                                                                    Specialist/Position Eliminiated/Pay Cut

Communications Manager                      Anthony Ramsey    Inactive               Male       Karen Ciofani       10/14/21‐ Resigned/Position Eliminated
                                                                                46




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